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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                08/17/2020 09:30 AM
                                                                COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                    FILING DATE:
6:18-bk-06821-KSJ                        7                         10/31/2018
Chapter 7
DEBTOR:                Don Juravin


DEBTOR ATTY:           Amber Robinson
TRUSTEE:               Dennis Kennedy
HEARING:
(Video - CMS) Sale Hearing:
1) Trustee's Motion to Approve Sale of Assets (Doc #349) -
(Order approving bidding procedures only (Doc #377)
2) Debtor's Motion for Clarification and/or to Amend Order Granting Chapter 7 Trustee's Motion to Approve Sale of Assets
                       Subject to Overbid and for Approval of Overbid Procedures (Doc #382)
Wilmington Financial (Int. Party) Response to Motion for Clarification (Doc #387)
Note: cont. 1/14/20; 3/11/20; 4/15/20; 6/25/20; 8/4/20
Related: 20-1801 (Must Cure Obesity)

APPEARANCES:: Aldo Bartolone (Debtor Atty); Don Juravin (Debtor); Michael Nardella (Karan Arora Atty); James Ryan
(Trustee Atty); Will Matthews (Bella Collina Atty); Bradley Saxton (Trustee Atty); David Landis (Wilmington Financial Atty); Marc
Randazza (Opinion Corp Atty);

RULING:
(Video - CMS) Sale Hearing:

1) Trustee's Motion to Approve Sale of Assets (Doc #349) - Granted:Order by Saxton;
 (Order approving bidding procedures only (Doc #377)

2) Debtor's Motion for Clarification and/or to Amend Order Granting Chapter 7 Trustee's Motion to Approve Sale of Assets
Subject to Overbid and for Approval of Overbid Procedures (Doc #382) - Granted:Order by Saxton; (bt/GWW).

Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-06821-KSJ                      Chapter 7
